1K - Bullying and 2:19-cv-00466-LEW
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         JICK - Bullying and Cyberbullying Prevention in Schools
            schoolboard.cape.kl2.mems/policies-list/j-students/211-jick-bullying-and-cyberbullying-in-schools

                                                                                                                October 20, 2015




                                                           education

                                        common sense
                                             DISTRICT
         The Board believes that bullying, including cyberbullying, is detrimental to student well-being and to
         student learning and achievement. It interferes with the mission of the schools to educate their
         students and disrupts the operations of the schools. Bullying affects not only students who are
         targets but also those who participate in and witness such behavior.




         Bullying Prohibited




         Bullying, including "cyberbullying," harassment and sexual harassment are not acceptable conduct in
         Cape Elizabeth Schools and is prohibited.




         Retaliation for the reporting of incidents of such behavior is also prohibited.




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        I n adopting this policy, it is not the Board's intent to prohibit students from expressing their ideas,
        i ncluding religious, political and philosophical views that may offend the sensibilities of others, or from
        engaging in civil debate. However, the Board does not condone and will take action in response to
        conduct that directly interferes with students' rights at school under applicable laws or with the
        educational mission, operations, discipline or general welfare of the schools.




        Definitions




         "Bullying" and "cyberbullying" have the same meaning in this policy as in Maine law:




        Bullying




               "Bullying" includes, but is not limited to a pattern of written, oral or electronic expression or a
        physical act or gesture or any combination thereof directed at a student or students that:




        A.     Has, or a reasonable person would expect it to have, the effect of:




                        1       Physically harming a student or damaging a student's property; or




                        2.      Placing a student in reasonable fear of physical harm or damage to his/her
        property;




                B.      Interferes with the rights of a student by:




        1       Creating an intimidating or hostile educational environment for the student; or




        2.      Interfering with the student's academic performance or ability to participate in or benefit from
        the services, activities or privileges provided by the school; or
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               C       Is based on:




        a.     A student's actual or perceived characteristics identified in 5 MRSA § 4602 or 4684-A
       (including race; color; ancestry; national origin; sex; sexual orientation; gender identity or expression;
        religion; physical or mental disability) or other distinguishing personal characteristics (such as
        socioeconomic status; age; physical appearance; weight; or family status); or




        b.     A student's association with a person with one or more of these actual or perceived
        characteristics or any other distinguishing characteristics;




               and that has the effect described in subparagraph A. or B. above.




        Cyberbullying




               "Cyberbullying" means bullying through the use of technology or any electronic
        communication, including but not limited to, a transfer of signs, signals, writing, images, sounds, data
        or intelligence of any nature transmitted by the use of any electronic device including, but not limited
        to, a computer, telephone, cellular telephone, text messaging device or personal digital assistant.




        Retaliation




                Retaliation means an act or gesture against a student for asserting or alleging an act of
        bullying. Retaliation also includes reporting that is not made in good faith on an act of bullying.




        A pplication of Policy




        This policy applies to bullying that:




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        A.      Takes place at school or on school grounds, at any school-sponsored or school-related
        activity or event or while students are being transported to or from school or school-sponsored
        activities or events; or




        B.     Takes place elsewhere or through the use of technology, but only if the bullying also infringes
        on the rights of the student at school as set forth in the definition of "bullying."




        Consequences for Policy Violations




        Students




        Students who violate this policy may be subject to disciplinary action which may include suspension,
        expulsion or a series of graduated consequences including alternative discipline or other behavioral
        i nterventions.




        The Board retains the right to impose disciplinary consequences for bullying and other conduct that
        occurs at any time or place that substantially disrupts the instructional program, operations of the
        schools or welfare of students.




        Any student violating this policy may also be subject to civil or criminal penalties.




        School Employees and Others




        Administrators, professional staff and all other employees who violate this policy may be subject to
        disciplinary action up to and including dismissal, and in accordance with any applicable collective
        bargaining agreements.




        Volunteers, contractors and visitors who violate this policy will be barred from school property until
        the Superintendent is satisfied that the person will comply with Maine's bullying law and this policy.



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        Any person violating this policy may also be subject to civil or criminal penalties.




        Any school-affiliated organization that authorizes or engages in bullying or retaliation is subject to
        forfeiture of Board approval/sanctioning and/or suspension or revocation of its permission to operate
        on school grounds.




        Staff Training




               Cape Elizabeth Schools will provide professional development and staff training in bullying
        prevention and response.




        Delegation of Responsibility




        The Superintendent/designee will be responsible for developing and implementing procedures in
        accordance with applicable law to implement this policy.




        The Superintendent will designate the school principal and/or other school personnel to be
        responsible for implementation/enforcement of this policy and associated procedures on the school
        level.




        A student or his/her parent/guardian who is dissatisfied with a decision of the Superintendent or
        designee related to the taking or not taking of disciplinary action in the course of implementing this
        policy may appeal, in writing, to the Superintendent within 14 calendar days of notice of the decision.




        The Superintendent's decision shall be final.




        Dissemination of Policy




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                The Superintendent will be responsible for providing this policy, any associated administrative
         procedures and the names of the person(s) responsible for implementing the policy/procedure at the
         school level in writing to students, parents, school employees and volunteers in handbooks, on the
         school unit's website and by such other means (if any) as may be determined by the Superintendent.

         Legal Reference:      20-A M.R.S.A. § 1001(15), 6554
             • AC - Nondiscrimination, Equal Opportunity
             • ACAA-R - Harassment and Sexual Harassment of Students
             • ACAD — Hazing
             • AD — Educational Philosophy/Mission
             • ADAA — School System Commitment to Standards for Ethical and Responsible Behavior
             • ADF - School District Commitment to Learning Results
             • CHCAA - Student Handbooks
             • GCI — Professional Staff Development
             • IJNDB-R - Student Computer and Internet Use and Internet Safety
             • JI - Student Rights and Responsibilities
             • JIC - System-wide Student Code of Conduct
             • JICIA - Weapons, Violence and School Safety
             • JICK-E - Bullying Incident Record Form
             • JICK-R - Bullying and Cyberbullying Prevention - Administrative Procedure
             • JK - Student Discipline
             • JKD - Suspension of Students
             • JKE - Expulsion of Students
             • KLG - Relations with Law Enforcement Authorities

         Adopted: September 10, 2013
         Revised:     February 14, 2017




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         Procedure
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                                                                                                               February 17, 2017




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         This procedure is intended as general guidance for school administrators in carrying out their
         responsibilities when bullying is alleged to have occurred. It provides important definitions as well as
         steps for reporting, investigating and responding to allegations of bullying.

         Bullying behavior alleged to be based on race, color, ancestry, national origin, sex, sexual
         orientation, religion or disability should be addressed under the procedures set forth in the Student
         Harassment and Sexual Harassment procedure, ACAA-R, rather than under this procedure.




         Bullying Reports




                Students and Parents/Guardians




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        Students who believe they have been bullied, or who have witnessed or learned about an act of
        bullying are strongly encouraged to report this behavior to the building principal, assistant principal,
         or school counselor.




         Parents/guardians may report bullying on behalf of their children or when they have witnessed or are
         aware of the occurrence of bullying.




         Reports of bullying may be made anonymously, but no disciplinary action shall be taken against a
         student solely on the basis of an anonymous report.




                 Any student who has been determined to have made a false report of bullying will             be
         subject to disciplinary consequences.




                School Employees




         For the purposes of this procedure, "school employees" includes coaches, advisors for cocurricular or
         extracurricular activities and volunteers.




         All school employees are expected to intervene when they see acts of bullying in progress and are
         required to report incidents of bullying they have witnessed or become aware of to the building
         principal or assistant principal as soon as practicable.




         School employees who fail to report bullying or who have made a false report of bullying will be
         subject to disciplinary consequences up to and including termination, in accordance with any
         applicable collective bargaining agreement.




                 Others
               Contractors, service providers, visitors or community members who have witnessed or
         become aware of bullying are encouraged to report such incidents to the building principal or
         assistant principal.




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        Form of Reports




        Complaints or reports of bullying may be made orally or in writing, but all reports will be recorded in
        writing by school personnel authorized to receive complaints or reports, using the school unit's
        reporting form (JICK-E).




        School employees are required to make reports of bullying to the principal or assistant principal in
        writing. Although students, parents and others, as identified above, may make bullying reports
        anonymously, all persons reporting incidents of bullying are encouraged to identify themselves.




        Bullying reports may be made anonymously, but in no instance will action be taken against any
        person or organization affiliated with the schools solely on the basis of an anonymous report.




        I nterim Safety Measures




        The building principal may take such interim measures as he/she deems appropriate to ensure the
        safety of the targeted student and prevent further bullying and will inform the parents of the targeted
        student of measures taken.




        School personnel will respect the confidentiality of student information when communicating with the
        parents of a student who has reported being bullied. It should be sufficient to inform the parents of
        what the school is doing to protect the student from further bullying and to convey that the incident
        will be investigated and appropriate disciplinary consequences will be applied, without providing
        details that would be considered a violation of FERPA or an invasion of privacy.




        I nvestigation




               The principal will ensure that all reports of bullying and retaliation are investigated promptly
        and that documentation of the investigation, including the substance of the complaint or report and
        the outcome of the investigation is completed within a reasonable period of time.




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                 The determination of whether particular conduct constitutes bullying requires reasonable
         consideration of the circumstances, which include the frequency of the behavior at issue, the location
         in which the behavior occurs, the ages and maturity of the students involved, the activity or context in
         which the conduct occurs, and the nature and severity of the conduct.




         Response to Bullying by Students




                If bullying has been substantiated, the building principal or designee as appropriate under the
         circumstances will determine the appropriate disciplinary consequences, which may include
         detention, suspension or expulsion; alternative discipline; remediation; and/or other intervention.




                Alternative discipline includes but is not limited to:




         A.     Meeting with the student and the student's parents;




         B.    Reflective activities, such as requiring the student to write an essay about the student's
         misbehavior;




         C.     Mediation when there is mutual conflict between peers, rather than one-way negative
         behavior, and when both parties freely choose to meet;




         D      Counseling;




         E.      Anger management;




         F       Health counseling or intervention;




         G.      Mental health counseling;



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        H.      Participation in skills building and resolution activities, such as social-emotional cognitive skills
        building, resolution circles and restorative conferencing;




                Community service; and




        J.    In-school detention or suspension, which may take place during lunchtime, after school or on
        weekends.




        I n order to remediate any substantiated incident of bullying to counter the negative impact of the
        bullying and reduce the risk of future bullying incidents, the principal may refer the targeted
        student/victim, perpetrator or other involved persons to counseling of other appropriate services.




        If the bullying behavior appears to be a criminal violation, the building principal will notify local law
        enforcement authorities.




        If bullying has been substantiated, the building principal will provide written notification to:




        A.     The parents/guardians of the targeted student, including the measures being taken to ensure
        the student's safety; and to




        B.      The parents/guardians of the student found to have engaged in bullying, including the process
        for appeal.




        C.      The Superintendent of Schools.




        All communications to parents must respect the confidentiality of student and employee information
        as provided by federal and Maine law and regulations.




        A ppeals

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         Any appeal of the building principal's decisions in regard to consequences for bullying must be
         submitted, in writing, within 14 calendar days of the parental notification. The Superintendent will
         review the investigation report and actions taken and decide whether to sustain or deny the appeal.
         The Superintendent's decision shall be final.

          Cross Reference:
         Adopted:       February 14, 2017




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